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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

                                                                 )
    SACHA BARON COHEN, an individual,                            )
    and PLEASE YOU CAN TOUCH, LLC,                               )
    a California limited liability company,                      )
                                                                 )
            Plaintiffs,                                          )
                                                                 ) Civil Action No. 1:21-CV-11139-DJC
       v.                                                        )
                                                                 )
    SOLAR THERAPEUTICS INC.,1 a                                  )
    Massachusetts corporation; and EDWARD                        )
    DOW III, an individual,                                      )
                                                                 )
            Defendants.                                          )
                                                                 )


                                 PLAINTIFFS’ MOTION FOR LEAVE
                                  TO FILE AMENDED COMPLAINT

             Pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure, Plaintiffs Sacha

Baron Cohen (“Mr. Baron Cohen”) and Please You Can Touch, LLC, (“PYCT”)

(collectively, the “Plaintiffs”) respectfully move the Court for leave to file the First Amended

Complaint (“FAC”) attached hereto as Exhibit A, which is available, if requested, in redline

format. Plaintiffs, through their counsel, seek to incorporate additional facts to the Original

Complaint (ECF #1) (“Complaint”) against the Defendants, Solar Therapeutics Inc. (“Solar”)

and Edward Dow III (“Dow”) (collectively, the “Defendants”).

             Through their counsel, the Defendants have assented to this motion, subject to all

appropriate defenses, and without agreeing to the characterizations or allegations contained in

the motion or the proposed first amended complaint.

             Rule 15(a)(2) provides that “a party may amend its pleading [with] the court’s

leave” and that “[t]he court should freely give leave when justice so requires.” Fed. R. Civ. P.



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    For the purposes of this motion, the original caption is being used. The attached Amended Complaint identifies
    the corporate defendant as SOLAR THERAPEUTICS INC. d/b/a SOLAR CANNABIS CO.
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15(a)(2). Allowing Plaintiffs to file the FAC would serve justice and promote judicial

efficiency. Further, there would be no substantial or undue prejudice, bad faith, undue delay,

or futility if this motion is granted.


         Through the FAC, the Plaintiffs seek to allege additional facts against the

Defendants. In addition to deliberately featuring the portrait, picture, image, likeness, and

persona of Mr. Baron Cohen and his “Borat” movie character in a commercial billboard (the

“Billboard”) on a busy interstate highway in Massachusetts, the Defendants have also

included the portrait, picture, image, likeness, and persona of Mr. Baron Cohen and his

“Borat” movie character on t-shirts and possibly other materials (collectively with the

Billboard, the “Advertising Materials”) to advertise and promote the sale of Defendant

Solar’s cannabis products. By using the Advertising Materials, the Defendants have falsely

conveyed that Mr. Baron Cohen has endorsed their products and is affiliated with their

business. This is in violation of federal law, namely, the Lanham Act of 1946 as amended

(codified at 15 U.S.C. §§ 1051, et seq.) and the copyright laws of the United States, 17 U.S.C.

§§ 101 et seq.


         Further, shortly after the filing of the original Complaint and after the attendant

publicity resulting from the public filing, Defendant Solar rebranded itself, changing its

public name on its website and all of its social media and other publicity platforms from

“Solar Therapeutics” to “Solar Cannabis Co.” The Massachusetts Cannabis Control

Commission licensing records confirm that Solar Cannabis Co. is now a d/b/a of Solar

Therapeutics Inc. Accordingly, through the FAC, the Plaintiffs seek to amend the caption to

accurately reflect Solar’s current public name.




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               For all these reasons, and those stated in the attached memorandum in support,

Plaintiffs respectfully request that the Court grant Plaintiffs leave to file the attached FAC.

Also attached is a proposed order.


Dated: January 28, 2022


                                                      Respectfully submitted,

                                                      By: /s/ Russell A. Smith
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                                                      Attorneys for Plaintiffs




              CERTIFICATE OF COMPLAINCE WITH LOCAL RULE 7.1


       I, Russell Smith, do hereby certify that, pursuant to Local Rule 7.1(a)(2), I have

conferred with counsel for the Defendants in a good faith attempt to resolve the issues raised

by the foregoing motion. As explained above, the Defendants have assented to the motion.




                                                                      /s/ Russell Smith
                                                                      Russell Smith
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